Case 1:24-mj-00361-MJS Document6 Filed 11/19/24 Pagelof1

AO 442 (Rev. IN/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the FID 11739062
District of Columbia | RECE/VED
By USMS District of Columbis District Court at 4:21 pm, Nov 18, 2024
United States of America
v. )
) Case: 1:24—mj-00361
J Carroll ase, 1.24—M)

- ames ©arro ) Assigned To : Sharbaugh, Matthew J. -
) Assign. Date : 11/18/2024
) Description: COMPLAINT W/ARREST WARRANT
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED 10 arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) James Carroll ,

who is accused of an offense or violation based on the following document filed with the court:
O Indictment © Superseding Indictment Ol Information © Superseding Information J Complaint

© Probation Violation Petition © Supervised Release Violation Petition O Violation Notice 1 Order of the Court

This offense is briefly described as follows:

18 U.S.C. 2422(b) (Attempted Coercion and Enticement of a Minor).

Digitally signed by

Matthew J. Sharbaugh

F Date: 2024.11.18
16:09:15 -05'00"

G

Date: 11/18/2024
issuing officer's signature
City and state: Washington, D.C. Matthew J. Sharbaugh, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) \(/|{Qo3\| __, and the person was arrested on (date) | | fyaada Y

al (city and state} t) as i defOny

Date: [1 |AJaoa*| LZ

Arresting officer's signature

Cishada us [A

Printed name and title

